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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 18-0882V
                                        (not to be published)


    MINDY LAWSON,
                                                                Chief Special Master Corcoran
                          Petitioner,
    v.                                                          Filed: August 31, 2021


    SECRETARY OF HEALTH AND                                     Special Processing Unit                 (SPU);
    HUMAN SERVICES,                                             Attorney’s Fees and Costs


                         Respondent.


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
Petitioner.

Zoe Wade, U.S. Department of Justice, Washington, DC, for Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS 1

        On June 20, 2018, Mindy Lawson filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration after receipt of an influenza vaccine in her left deltoid on September 1,
2016. (Petition at 1). On January 5, 2021, a decision was issued awarding compensation
to Petitioner in the amount of $215,688.69. (ECF No. 61).


1
   Because this unpublished Decision contains a reasoned explanation f or the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If , upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all “§” ref erences to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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        Petitioner has now filed a motion for attorney’s fees and costs, dated August 4,
2021 (ECF No. 65), requesting a total award of $74,789.86 (representing $73,458.60 in
fees and $1,331.26 in costs). Additionally, Petitioner requests $3,072.50 in attorney fees
incurred by prior counsel, Hector Oropeza. (Id). In accordance with General Order No. 9,
Petitioner filed a signed statement indicating that she incurred no out-of-pocket expenses.
(Id. at 2). Respondent reacted to the motion on August 5, 2021, indicating that he is
satisfied that the statutory requirements for an award of attorney’s fees and costs are met
in this case, but deferring resolution of the amount to be awarded to my discretion. (ECF
No. 66). On August 5, 2020, Petitioner filed a reply requesting the fees and costs be
awarded in full. (ECF No. 67).

       I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs.
Section 15(e). Accordingly, I hereby GRANT Petitioner’s Motion for attorney’s fees and
costs as follows:

            •   A lump sum of $74,789.86, representing reimbursement for attorneys’
                fees and costs, in the form of a check payable jointly to Petitioner and
                Leah VaSahnja Durant; and

            •   A lump sum of $3,072.50 representing reimbursement for attorneys’
                fees, in the form of a check payable jointly to Petitioner and Hector
                Oropeza.

      In the absence of a timely-filed motion for review (see Appendix B to the Rules of
the Court), the Clerk shall enter judgment in accordance with this decision. 3

IT IS SO ORDERED.

                                                      s/Brian H. Corcoran
                                                      Brian H. Corcoran
                                                      Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by f iling a joint notice
renouncing their right to seek review.
                                                  2
